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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,

              v.
                                     Case No. 1:24-cr-00556-DEH
ERIC ADAMS,

              Defendant.




      BRIEF OF COURT-APPOINTED AMICUS CURIAE PAUL D. CLEMENT
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                    INTRODUCTION AND SUMMARY OF ARGUMENT

       Since their adoption in the 1940s, the Federal Rules of Criminal Procedure have

consistently provided (with minor changes in wording) that “[t]he government may, with leave of

court, dismiss an indictment.” Fed. R. Crim. P. 48(a) (emphasis added). Rule 48(a) deliberately

departed from prior practice by reserving a judicial role when the executive seeks to unwind

criminal process that has proceeded past the grand jury phase. The Rule does not allow the

executive to dismiss a prosecution unilaterally or dictate that a dismissal be without prejudice. But

Rule 48(a) does not—and could not—fundamentally transform the dynamic among the branches.

Nothing in the Rule expressly authorizes the Article III branch to force the Article II branch to

continue a prosecution against its will, or to appoint a private party to take it over. Moreover, like

the constitutional separation of powers itself, the principal office of Rule 48(a) is the protection of

individual liberty. It protects the speedy-trial rights and other liberty interests of the defendant.

Consistent with these principles, Rule 48(a) provides the court with an important, but limited, role

in assessing the government’s motion to discontinue an ongoing prosecution. The Rule authorizes

the court to consider how the prosecution should be discontinued—with or without prejudice—

rather than empowering the court to take over the distinctly executive prosecutorial function.

       The same basic separation-of-powers principles that counsel against a court maintaining a

prosecution over the executive’s objection support dismissal with prejudice here. The executive’s

unilateral option for ending a prosecution—namely, a pardon—more closely resembles a dismissal

with prejudice. And the executive’s undoubted power to decline to initiate a prosecution leaves a

citizen’s liberty untouched. But a dismissal without prejudice creates a palpable sense that the

prosecution outlined in the indictment and approved by a grand jury could be renewed, a prospect

that hangs like the proverbial Sword of Damocles over the accused. Such an ongoing prospect of

re-indictment is particularly problematic when it comes to the sensitive task of prosecuting public
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officials. There is an inherent risk that once an indictment has been procured, the prospect of re-

indictment could create the appearance, if not the reality, that the actions of a public official are

being driven by concerns about staying in the good graces of the federal executive, rather than the

best interests of his constituents. That prospect explains the absence of deferred prosecution

agreements involving public officials. Dismissal with prejudice avoids those concerns and

promotes another important separation-of-powers virtue—namely, accountability.

       These general principles inform the specific questions the Court has asked the parties and

amicus to address. In short, Rule 48(a) gives the court an important, but limited, role, principally

focused on how—not whether—a prosecution should be dismissed. In discharging that function,

a court can consider materials outside the Rule 48(a) motion itself, but should conduct that inquiry

with sensitivity to separation-of-powers principles and avoid unnecessary intrusion into the

prosecutorial function. In a rare case like this, where executive deliberations have already been

made public, the Court need not ignore those materials. Moreover, the proper scope of judicial

inquiry is informed by the primary judicial mission under Rule 48(a)—namely, deciding whether

to dismiss the prosecution with or without prejudice. Thus, where the publicly available materials

are sufficient to support dismissal with prejudice, there is no need for further inquiry. Here, the

publicly available materials—and the basic dynamic of a federal prosecution of a popularly elected

public official—counsel in favor of dismissal with prejudice. Finally, even if this Court were to

deny the government’s motion, it could not constitutionally force the executive to proceed, which

would likely necessitate a dismissal with prejudice on speedy-trial grounds.

       In short, Rule 48(a) gives this Court a vital, but limited, role in determining whether

dismissal should be with or without dismissal. And all roads here—including the same separation-

of-powers principles that constrain the Court’s options—lead to dismissal with prejudice.




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                                 STATEMENT OF THE CASE

       A. Legal Background

       1. Before the adoption of Rule 48, “the public prosecutor” had plenary authority to “enter

a nolle prosequi in his discretion, without any action by the court.” Fed. R. Crim. P. 48(a) advisory

committee’s note 1 (1944). That unilateral authority represented a continuation from English

practice. By at least the mid-1600s, “the power of the prosecuting officer” to enter nolle prosequi

in the law courts of England “[wa]s absolute.” Charles H. Winfield, Nolle Prosequi, 5 Crim. L.

Mag. 1, 2 (1884); see also id. at 6-7 (describing as “very clear” the absence of a judicial role in

nolle prosequi). In line with that tradition, Presidents Washington, Adams, and Jefferson all

exercised the power to direct “district attorneys to begin and cease prosecutions.” Saikrishna

Prakash, The Chief Prosecutor, 73 Geo. Wash. L. Rev. 521, 553 (2005) (emphasis added); see,

e.g., id. at 554, 559. Then-Congressman (and future Chief Justice) John Marshall likewise opined

that the prerogative to “direct that [a] criminal” under indictment “be prosecuted no farther” is “an

indubitable and a Constitutional power” of the Executive. 10 Annals of Cong. 596, 615 (1800).

       This understanding generally prevailed in both state and federal courts until after the Civil

War, when some states began to authorize a judicial role with regard to nolle prosequi, see, e.g.,

Halloran v. State, 80 Ind. 586, 589 (1881) (discussing an 1876 Indiana statute to this effect), to

protect the accused from “fear[s]” (founded or not) about prosecutorial “abuse” of the power to

pretermit prosecutions with strings attached, Winfield, supra, at 7. For example, a former Maine

Chief Justice castigated the “reprehensible practice” of prosecutors entering a nolle prosequi after

conviction if the defendant “pa[id] into the county treasury” amounts determined by the prosecutor.

Lucilius A. Emery, The Nolle Prosequi in Criminal Cases, 6 Me. L. Rev. 199, 202-03 (1913).

       By the time the Advisory Committee convened to draft the Federal Rules of Criminal

Procedure, “more than thirty (30) states had modified common law to give the court a responsible


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role in the dismissal of a pending criminal proceeding by requiring an ‘order’, or ‘leave’, or

‘consent’ of court.” United States v. Abreu, 747 F.Supp. 493, 501 (N.D. Ind. 1990), aff’d sub nom.

United States v. Vasquez, 966 F.2d 254 (7th Cir. 1992). While some federal courts had “on

occasion” exercised their inherent authority and “prevented dismissals pregnant with the

possibility of harassment,” United States v. Ammidown, 497 F.2d 615, 620 (D.C. Cir. 1973); see,

e.g., United States v. Krakowitz, 52 F.Supp. 774 (S.D. Ohio 1943), federal cases reviewing (rather

than simply effectuating) nolle prosequi dismissals were few and far between; the prevailing

federal-court rule was that the executive had the unilateral authority to dismiss indictments.

       2. Rule 48(a) deliberately changed that dynamic, aligning federal practice with the then-

prevailing state-court practice of allowing dismissal only “with leave of court.” See Fed. R. Crim.

P. 48(a); see also Rinaldi v. United States, 434 U.S. 22, 29 n.15 (1977) (per curiam). The impetus

for that change came from the Supreme Court itself. The Advisory Committee’s initial proposal

“would have adopted the common law rule that the power of the prosecutor to enter a nolle

prosequi in a criminal case was unrestricted, and added only the requirement, prevalent in state

practice, that the prosecutor state his reasons for seeking dismissals.” Ammidown, 497 F.2d at 620.

That proposal was a compromise: While many members favored a broader judicial role, a majority

objected to “requiring the court’s approval for a dismissal” and favored a statement-of-reasons

requirement. Thomas Ward Frampton, Why Do Rule 48(a) Dismissals Require “Leave of Court”?,

73 Stan. L. Rev. Online 28, 33-36 (2020). The Justices, however, sided with the former camp,

“substitut[ing] the requirement that dismissal be obtained only by leave of court.” Ammidown,

497 F.2d at 620; see also Rinaldi, 434 U.S. at 34 (Rehnquist, J., dissenting).

       The Court did not publicly explain that change. See Rinaldi, 434 U.S. at 29 n.15 (“The

words ‘leave of court’ were inserted in Rule 48(a) without explanation.”). The non-public




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memoranda from the Justices to the Advisory Committee during the drafting process (which

Rinaldi did not discuss) reveal that some of the Justices, who had just recently reaffirmed that the

Court had a role in overseeing executive-branch confessions of error, were uncomfortable with the

idea that the Executive “should” have “unqualified authority to nolle pros a case without consent

of the court,” “any more than … the Government can confess error in a criminal case without the

consent of the court.” Memorandum from the Sup. Ct. to the Advisory Comm. on Rules of Crim.

Proc. 7 (June 10, 1942) (citing Young v. United States, 315 U.S. 257 (1942)), reproduced in 1

Madeleine J. Wilken & Nicholas Triffin, Drafting History of the Federal Rules of Criminal

Procedure 13, 19 (1991); see also Memorandum with Suggestions with Reference to the Proposed

Rules of Criminal Procedure 5 (Apr. 11, 1944) (“Two members of the Court think that the United

States [] should not be permitted to dismiss an indictment without the consent of the court.”),

reproduced in 7 Madeleine J. Wilken & Nicholas Triffin, Drafting History of the Federal Rules of

Criminal Procedure 5, 9 (1991). According to Wright & Miller, “the addition of the requirement

for court approval prior to a dismissal was motivated by a concern that prosecutors were seeking

dismissals of politically well-connected defendants.” 3B Charles Alan Wright & Arthur R. Miller,

Fed. Prac. & Proc. Crim. §802 n.2.50 (4th ed. June 2024 Update).

       Given the diversity of views that produced Rule 48(a), it is no great surprise that federal

courts were divided over how much discretion Rule 48(a) affords them. Some held that the Rule

allowed them to intercede only when necessary “to protect a defendant from harassment by the

government through charging, dismissing and then re-charging without placing a defendant in

jeopardy.” Woodring v. United States, 311 F.2d 417, 424 (8th Cir. 1963) (per curiam). Other

courts, in contrast, viewed Rule 48(a) as conferring “judicial discretion” “to agree or disagree with

the conclusion of the [Executive] that [a] dismissal is ‘in the interests of justice.’” United States




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v. Shanahan, 168 F.Supp. 225, 229 (S.D. Ind. 1958). A few judges (including some in this Circuit)

held that they could deny a motion to dismiss “against any given defendant unless satisfied that

the government lacks sufficient evidence to warrant a prosecution.” United States v. Doe, 101

F.Supp. 609, 611 (D. Conn. 1951); see also, e.g., United States v. N.V. Nederlandsche Combinatie

Voor Chemische Industrie, 428 F.Supp. 114, 116 (S.D.N.Y. 1977) (“In addition to protecting the

rights of the defendant, the court is vested with the responsibility of protecting the interests of the

public on whose behalf the criminal action is brought.”). 1

        3. The Supreme Court provided material guidance in Rinaldi, albeit without definitively

resolving this split in approach. The Court declared it “obvious[]” that Rule 48(a) “vest[s] some

discretion in the court” upon receipt of a motion to dismiss an indictment. 434 U.S. at 29 n.15;

accord id. at 34 (Rehnquist, J., dissenting); see also Memorandum for Respondent at 8, Rinaldi v.

United States, No. 76-6194 (U.S. July 19, 1977) (acknowledging that “the district court has some

discretion under Rule 48(a) … to deny a government motion to dismiss an indictment”). And it

expressly endorsed the view that “[t]he principal object of the ‘leave of court’ requirement is

apparently to protect a defendant against prosecutorial harassment,” providing the example of

“charging, dismissing, and recharging, when the Government moves to dismiss an indictment over

the defendant’s objection.” Rinaldi, 434 U.S. at 29 n.15. The Court noted that some courts had

interpreted Rule 48(a) “to permit the court to deny a Government dismissal motion … if the motion

is prompted by considerations clearly contrary to the public interest,” but deemed it “unnecessary

to decide whether [a] court has discretion under [such] circumstances.” Id.




   1
     Accord, e.g., United States v. Bettinger Corp., 54 F.R.D. 40, 41 (D. Mass. 1971); United States
v. Becker, 221 F.Supp. 950, 953 (W.D. Mo. 1963).


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        Importantly, the Court expressly endorsed a judicial inquiry that goes beyond the four

corners of the government’s motion to dismiss. In fact, the Court based its ultimate disposition—

reversing the Fifth Circuit and upholding the government’s effort to dismiss the indictment—on

“[o]ur examination of the record.” Id. at 30. The Court also confirmed that it would not presume

bad faith on the part of the government, and that “[t]he salient issue” is not whether the decision

to initiate the prosecution “was made in bad faith but rather whether the Government’s later efforts

to terminate the prosecution were similarly tainted with impropriety.” Id. 2

        4. In the wake of Rinaldi, “courts have agreed that the primary purpose of the rule is

protection of a defendant’s rights.” United States v. Salinas, 693 F.2d 348, 351 (5th Cir. 1982). In

particular, Rule 48(a) authorizes courts to protect defendants who generally will accept a dismissal

without prejudice as preferable to continuing to labor under indictment, even if the prospect of re-

indictment creates the possibility of harassment or undue influence. See United States v. Doody,

2002 WL 562644, at *2 n.2 (S.D.N.Y. Apr. 16, 2002) (“In fact, ‘it is precisely because a dismissal

under Rule 48(a) does not bar a subsequent prosecution that the rule requires the consent of the

court.’” (quoting United States v. Rosenberg, 108 F.Supp.2d 191, 207 (S.D.N.Y. 2000))). But,

owing to Rinaldi’s “vague[ness] on what other circumstances may justify [Rule 48(a)’s]

application,” courts continue to express divergent views on the scope of their discretion to deny—



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      In evaluating the statements about the authority of prosecutors to dismiss indictments or
courts to review dismissals under Rule 48, an appreciation of chronology is essential. For example,
Attorney General Jackson’s justly famous speech about the prosecutor’s solemn responsibilities
and power to dismiss an indictment preceded Rule 48. Indeed, Justice Jackson served on the
Supreme Court when Rule 48(a) and its “leave of court” language was adopted. Moreover, many
of the judicial statements emphasizing the breadth of judicial discretion under Rule 48(a) preceded
Rinaldi and its statement that the “principal object” of Rule 48 is “to protect a defendant against
prosecutorial harassment.” 434 U.S. at 29 n.15. While some have questioned the accuracy of that
assessment, see Frampton, supra, there is little doubt that this considered statement in the Supreme
Court’s sole Rule 48(a) decision has guided courts to a more circumscribed view of their authority.
In fact, every case in note 1 and the related text, including Nederlandsche, pre-dated Rinaldi.

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or grant but modify—nolle prosequi motions beyond what is strictly necessary to “prevent

harassment by prosecutors.” In re Richards, 213 F.3d 773, 786 (3d Cir. 2000). Compare, e.g.,

United States v. Bernard, 42 F.4th 905, 909 (8th Cir. 2022) (judge may deny a Rule 48(a) motion

upon finding that “the prosecutor … had an illegitimate motive rising to the level of bad faith,”

such as “‘acceptance of a bribe, personal dislike of the victim, and dissatisfaction with the jury

impaneled’” (quoting United States v. Smith, 55 F.3d 157, 159 (4th Cir. 1995))), and Rosenberg,

108 F.Supp.2d at 206 (denying nolle prosequi and opining that courts may “consider the

motivations of the prosecutor, the effects of dismissal, including whether the dismissal is with or

without prejudice, on the defendant, and the public interest, more generally, when evaluating the

nolle”); with, e.g., United States v. Fokker Servs. B.V., 818 F.3d 733, 742 (D.C. Cir. 2016) (“[T]he

‘leave of court’ authority gives no power to a district court to deny a prosecutor’s Rule 48(a) motion

to dismiss charges based on a disagreement with the prosecution’s exercise of charging

authority.”), and In re United States, 345 F.3d 450, 453 (7th Cir. 2003) (doubting that a judge

“could properly refuse to dismiss a prosecution merely because he was convinced that the

prosecutor was acting in bad faith or contrary to the public interest”).

       Second Circuit caselaw reflects this ambivalence. United States v. Pimentel, 932 F.2d 1029

(2d Cir. 1991), “suggested (in dictum) that any authority a court might have to deny a Rule 48(a)

motion would be limited to cases in which dismissal is ‘clearly contrary to manifest public

interest.’” United States v. HSBC Bank USA, N.A., 863 F.3d 125, 141 (2d Cir. 2017) (quoting

Pimentel, 932 F.2d at 1033 n.5). But that observation was plainly dictum, as the court allowed

dismissal in Pimentel, while noting that the prosecutor has “considerable discretion” to dismiss

cases. 932 F.2d at 1033. Subsequent cases are similarly equivocal. In HSBC, the Second Circuit

underscored that “‘[d]ecisions to initiate charges, or to dismiss charges once brought, lie at the




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core of the Executive’s duty to see to the faithful execution of the laws.’” 863 F.3d at 134-35

(emphasis added) (quoting Fokker, 818 F.3d at 741). But given the posture of that case, HSBC

declined either to fully distance itself from courts that “have emphasized that a court deciding a

Rule 48(a) motion should not ‘serve merely as a rubber stamp for the prosecutor’s decision’” or to

delineate “the precise contours of a district court’s authority in resolving a Rule 48(a) motion.” Id.

at 141. HSBC did indicate, however, that the monitor’s report in dispute there could be relevant

to the ultimate disposition of a Rule 48(a) motion at the end of the DPA, further underscoring that

a court’s review of a Rule 48(a) motion extends beyond the four corners of the government’s

motion. Id. Most recently, the Second Circuit declared that only “[r]arely will the judiciary

overrule the Executive Branch’s” “elect[ion] to eschew or discontinue prosecutions,” without

providing concrete guidance on when (if ever) a court could “overrule the Executive” without

transgressing constitutional bounds. United States v. Blaszczak, 56 F.4th 230, 238 (2d Cir. 2022).

       5. While views diverge on the theoretical limits of judicial review under Rule 48(a), actual

practice appears more consistent. There are relatively few cases denying a motion to dismiss under

Rule 48(a) altogether without appellate reversal, and those cases involve prosecutorial harassment

or the need to protect a defendant from suffering prejudice. See, e.g., United States v. Weiss, 1993

WL 77285 (S.D.N.Y. Mar. 12, 1993) (“deny[ing] leave to the government to dismiss the []

indictment” under Rule 48(a) based on court’s “conclu[sion] that [the] defendant [wa]s entitled to

a decision on his pending motion,” which, if granted, “would have a res judicata effect on any

subsequent government effort at prosecution”). Conversely, courts of appeals have often reversed

and even mandamused decisions denying leave to dismiss altogether based on more amorphous

considerations, such as a view that the evidence is sufficient to proceed. See, e.g., Rice v. Rivera,

617 F.3d 802, 812 (4th Cir. 2010) (per curiam); In re United States, 345 F.3d at 453. And “no




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appellate court has upheld a denial of a motion to dismiss, where the defendant has consented to

the dismissal, grounded on a finding of ‘bad faith’ or action ‘contrary to the public interest’ alone.”

United States v. KPMG LLP, 2007 WL 541956, at *6 (S.D.N.Y. Feb. 15, 2007).

        The primary means through which district courts have exercised their discretion under Rule

48(a) without reversal has been in dismissing prosecutions with prejudice, even when the

government seeks dismissal without prejudice.          See, e.g., United States v. Madzarac, 678

F.Supp.3d 42, 52 (D.D.C. 2023) (ordering dismissal with prejudice); United States v. Derr, 726

F.2d 617, 619 (10th Cir. 1984) (affirming dismissal with prejudice); United States v. Towill, 548

F.2d 1363, 1369-70 (9th Cir. 1977) (same). Other courts have gone out of their way to endorse the

practice, see, e.g., In re United States, 345 F.3d at 453; United States v. Raineri, 42 F.3d 36, 43 (1st

Cir. 1994), which advances what Rinaldi identified as the primary office of Rule 48(a)—namely,

the protection of defendants from manipulative practices involving the threat of re-indictment.

        6.   Finally, it bears emphasis that the Justice Department has long recognized that

prosecutions of public officials raise distinct sensitivities. Concerns with the appearance that the

executive branch was either targeting political opponents or seeking to exert undue influence over

other officeholders prompted the creation of the public integrity unit within the Justice Department,

see Press Release, U.S. Dep’t of Just., Off. of Pub. Affs. (Jan. 14, 1976), https://perma.cc/ZY5Y-

YLJ2, and passage of the short-lived Independent Counsel Act, see Morrison v. Olson, 487 U.S.

654, 660-65 & n.1 (1988). Moreover, perhaps as a consequence of the distinct problems posed by

even the appearance that the executive branch was exercising leverage over an elected official via

the threat of re-indictment, amicus is not aware of any example of a DPA involving a public official

who continues to serve, even as the use of DPAs have proliferated in other contexts.




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       B. Factual and Procedural Background

       On September 24, 2024, a grand jury indicted Eric Adams on five counts: two counts of

soliciting, accepting, and receiving a campaign contribution by a foreign national, in violation of

52 U.S.C. §§30121 and 30109(d)(1)(A); one count of federal-program bribery, in violation of 18

U.S.C. §666(a); one count of wire fraud, in violation of 18 U.S.C. §1343; and one count of

conspiracy to do the same, in violation of 18 U.S.C. §371. See Dkt.2. The government alleges

that, while serving as Brooklyn Borough President and later while campaigning for Mayor of New

York City, Adams accepted various things of value from Turkish government officials and

businesspeople, solicited and collected straw campaign contributions from those foreign nationals,

and, in exchange, assisted Turkey with resolving certain regulatory holdups relating to the

construction and opening of a new Turkish consulate in Manhattan.

       The parties actively engaged in contested motions practice and the government turned over

multiple volumes of discovery material. The case was set for trial in April 2025.

       Then, on February 14, 2025, the government filed a motion “seeking dismissal without

prejudice of the charges in this case, with leave of the Court, pursuant to Rule 48(a).” Dkt.122 ¶1.

As recounted in the motion, the government has determined “that dismissal is necessary and

appropriate … based on the unique facts and circumstances of this case.” Id. ¶4. Specifically, “the

Acting Deputy Attorney General concluded that dismissal is necessary” as a result of “appearances

of impropriety” relating to the institution of the proceedings against Adams under the prior

Administration, “risks of interference with the 2025 [mayoral] elections in New York City,” and

actual “interfere[nce] with the defendant’s ability to govern in New York City [as Mayor], which

poses unacceptable threats to public safety, national security, and related federal immigration

initiatives and policies.” Id. ¶¶5-6. Adams consented to the motion. Id. ¶2.




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          The filing of that motion precipitated a series of resignations and unusual public disclosures

concerning internal deliberations about the case and the decision to seek dismissal. While some

of the materials became public outside official channels, other statements were made through

official channels. Suffice it to say that those materials raised material questions concerning both

the initial decision to pursue the indictment and the subsequent decision to seek dismissal.

          The Court held a hearing on the government’s motion on February 19, 2025. At the

hearing, Adams affirmed his consent to the motion to dismiss without prejudice. See 2/19/2025

Tr. at 9:22-11:19. Two days later, the Court entered an order adjourning all upcoming deadlines

sine die. Dkt.136. The same order appointed an “amicus curiae to present arguments on the

Government’s Motion to Dismiss.” Id. at 3. Specifically, the Court ordered amicus (and the

parties) to address, inter alia: “[t]he legal standard for leave to dismiss an indictment under

Rule 48(a)”; when “dismissal should be with or without prejudice”; “[w]hether, and to what extent,

a court may consider materials other than the Rule 48(a) motion itself” or take “additional

procedural steps and/or further inquiry … before resolving a Rule 48(a) motion”; and “what

practical consequences would follow” “[i]f leave were denied.” Id. at 3-4. 3

                                             ARGUMENT

I.        Separation-Of-Powers Principles, Which Exist Primarily To Promote Individual
          Liberty, Inform The Courts’ Role In Reviewing Motions Under Rule 48(a).

          It is well settled that the Framers established our system of separation of powers in an effort

to protect and promote individual liberty. For that reason, the Supreme Court has repeatedly

observed that powers were separated not principally to protect the branches from each other, but


     3
     On February 26, 2025, Adams—who previously “knowingly consented to the government’s
motion to dismiss this case without prejudice,” Dkt.141 at 2—filed a “Motion to Dismiss for
Prosecutorial Misconduct” in which he now seeks dismissal with prejudice, see id. at 2-3, 14, 15.
That motion likely will be subject to adversarial testing, and in all events lies beyond the scope of
the questions raised in the Court’s February 21 Order, so this brief does not address it further.


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to protect the people from government overreach and to secure individual liberty. See, e.g., Bond

v. United States, 564 U.S. 211, 222 (2011) (“The structural principles secured by the separation of

powers protect the individual as well.”); Morrison, 487 U.S. at 697 (Scalia, J., dissenting)

(“Without a secure structure of separated powers, our Bill of Rights would be worthless, as are the

bills of rights of many nations of the world that have adopted, or even improved upon, the mere

words of ours.”). Indeed, the Supreme Court generally insists that the constitutional separation of

powers be vindicated by private litigants, rather than the branches suing in their official capacities.

See, e.g., Raines v. Byrd, 521 U.S. 811 (1997).

       Constitutional separation-of-powers principles play a particularly critical role in securing

individual liberty in the context that poses one of the most direct and obvious threats to that

liberty—namely, federal criminal prosecutions. Unlike the dynamic in many other countries, here

“no one can be convicted of a crime without the concurrence of all three branches.” Bordenkircher

v. Hayes, 434 U.S. 357, 364 (1978). Congress must first pass a law, see, e.g., United States v.

Hudson, 11 U.S. (7 Cranch) 32 (1812) (rejecting common-law crimes); the executive must exercise

its discretion to initiate a prosecution (and, for most crimes, secure an indictment); and the

judiciary must oversee a fair trial leading to a conviction. See also United States v. Cox, 342 F.2d

167, 186 (5th Cir. 1965) (Wisdom, J., concurring) (emphasizing that “the Grand Jury” protects

liberty and “earned its place in the Bill of Rights by its shield, not by its sword”).

       Prosecutorial discretion can play an important role in promoting individual liberty. No

matter how clearly someone has violated a federal criminal statute, neither the courts nor the

citizenry can compel the executive to initiate a criminal prosecution. See, e.g., United States v.

Nixon, 418 U.S. 683, 693 (1974) (“[T]he Executive Branch has exclusive authority and absolute

discretion to decide whether to prosecute a case[.]”). “One of the greatest unilateral powers a




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President possesses under the Constitution, at least in the domestic sphere, is the power to protect

individual liberty by essentially under-enforcing federal statutes regulating private behavior—

more precisely, the power either not to seek charges against violators of a federal law or to pardon

violators of a federal law.” In re Aiken Cnty., 725 F.3d 255, 263 (D.C. Cir. 2013) (Kavanaugh, J.)

(second emphasis added); United States v. Cowan, 524 F.2d 504, 511 (5th Cir. 1975) (courts are

“constitutionally powerless to compel the government to proceed”). And even after the criminal

process has run its course, the President retains a virtually unreviewable power to issue reprieves

and pardons. U.S. Const. art. II, §2, cl. 1; see also In re Aiken Cnty., 725 F.3d at 263-64.

       Most exercises of prosecutorial discretion or the pardon power promote individual liberty.

While a decision to refrain from initiating a prosecution does not preclude the possibility of a

subsequent prosecutor reaching a different decision before the statute of limitations has run, in the

interim it leaves the individual untouched. Similarly, a pardon typically precludes the possibility

of re-indictment for the same offense. See Lorance v. Commandant, U.S. Disciplinary Barracks,

13 F.4th 1150, 1165 (10th Cir. 2021) (“Lorance can never be retried because of the pardon”). The

grant of a motion to dismiss without prejudice, by contrast, leaves the defendant vulnerable to re-

indictment. See Dortch v. United States, 203 F.2d 709, 710 (6th Cir. 1953) (per curiam).

       Equally important, there is a “distinction between the commencement of a criminal case

by the filing of charges and the termination of a criminal case by moving to dismiss those charges.”

Abreu, 747 F.Supp. at 500. “[O]nce the grand jury returns an indictment, the prosecutor is no

longer entirely within the realm of his executive authority.” United States v. Stevenson, 425

F.Supp.3d 647, 651 (S.D.W. Va. 2018). As a result, the fact that “the decision of a prosecutor in

the Executive Branch not to indict” in the first place “has long been regarded as the special

province of the Executive Branch,” Heckler v. Chaney, 470 U.S. 821, 832 (1985), does not mean




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the executive has equivalent discretion to end a prosecution already underway, as the text and

history of Rule 48(a) underscore. That said, the courts’ role under Rule 48(a) remains distinctly

judicial. There is no express authorization for the courts to take over a prosecution or to appoint a

special prosecutor to maintain a prosecution that the executive wishes to abandon.

       There is one narrow context in which the Supreme Court has recognized that a court has

authority to exercise what would otherwise be a core executive function: “[I]t is long settled that

courts possess inherent authority to initiate contempt proceedings for disobedience to their orders,

authority which necessarily encompasses the ability to appoint a private attorney to prosecute the

contempt.” Young v. United States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 793 (1987). While

the precise provenance of that authority is contestable, see id. at 815-25 (Scalia. J., concurring in

the judgment), the Supreme Court has upheld it as “essential to ensuring that the Judiciary has a

means to vindicate its own authority without complete dependence on other Branches,” id. at 796

(majority op.). As Young explained, “[i]f the Judiciary were completely dependent on the

Executive Branch to redress direct affronts to its authority, it would be powerless to protect itself

if that Branch declined prosecution.” Id. at 801. But a court’s authority to initiate a contempt

prosecution is limited by a rule of necessity; it should be “exercise[d] … only as a last resort.” Id.

       Finally, where special circumstances justify judicial review of prosecutorial functions, the

courts have generally limited inquiries and tailored remedies to protect individual liberty while

minimizing intrusion into executive decisionmaking. For example, because the Constitution’s

individual rights amendments constrain all three branches, “a prosecutor’s discretion is ‘subject to

constitutional constraints.’” United States v. Armstrong, 517 U.S. 456, 464 (1996) (quoting United

States v. Batchelder, 442 U.S. 114, 125 (1979)). And the Constitution does not tolerate a “selection

… deliberately based upon an unjustifiable standard such as race, religion, or other arbitrary




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classification.” Oyler v. Boles, 368 U.S. 448, 456 (1962). Thus, there is a critical judicial role in

protecting individual liberties from prosecutorial abuse. But even then, courts strive to minimize

intrusion into prosecutorial deliberations—for example, by requiring heightened showings before

allowing discovery, see HSBC, 863 F.3d at 138—and selecting remedies that promote, rather than

restrict, individual liberty—e.g., “[if] the Executive selectively prosecutes someone based on

impermissible considerations, the equal protection remedy is to dismiss the prosecution, not to

compel the Executive to bring another prosecution,” In re Aiken Cnty., 725 F.3d at 264 n.7

(emphasis added). In short, where separation-of-powers principles permit judicial oversight of

prosecutorial decisions, they work to promote individual liberty, not to maximize law enforcement.

II.    Rule 48(a) Vests Courts With A Limited, But Essential, Power To Vindicate Liberty
       By Avoiding Even The Appearance Of Executive Overreach.

       1. These general separation-of-powers principles inform the proper understanding and

application of Rule 48(a). As noted at the outset, Rule 48(a) deliberately departed from the

common-law rule by expressly granting the courts a role when the government seeks to dismiss an

indictment even before jeopardy has attached. The impetus for that change came from the Supreme

Court itself. See p.4, supra. And, in discharging that function, the Court has authorized courts to

go beyond the four corners of the government’s motion. See Rinaldi, 434 U.S. at 30 (upholding

the government’s effort to dismiss the indictment based on “[o]ur examination of the record”).

       As a judge of this Court noted, however, that “leave-of-court” directive “sets forth no

criteria to guide the Court in the exercise of its discretion.” United States v. Greater Blouse, Skirt

& Neckwear Contractors Ass’n, 228 F.Supp. 483, 486 (S.D.N.Y. 1964). Furthermore, while

Rinaldi agreed that the “principal object of the ‘leave of court’ requirement” is “to protect a

defendant against prosecutorial harassment,” 434 U.S. at 29 n.15, it did not definitively resolve

“whether” it could ever be “permissible” for a court “‘to deny a Government dismissal motion to



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which the defendant has consented’” on grounds that “‘the motion is prompted by considerations

clearly contrary to the public interest,’” HSBC, 863 F.3d at 141 (quoting Rinaldi, 434 U.S. at 29

n.15). “Thus, the rule requires leave of the court, and each judge is left to struggle with its

uncertainties as best he or she can.” Wright & Miller, supra, §802 (footnote omitted).

       2. That said, no court of appeals has ever affirmed a decision to deny a motion to dismiss

under Rule 48(a) except in circumstances where necessary to protect the defendant’s liberty. See

pp.9-10, supra. “That is not surprising.” In re United States, 345 F.3d at 453. Following Rinaldi,

courts have “discerned” that “[t]he primary concern” underlying Rule 48(a) “was that of protecting

a defendant from harassment, through a prosecutor’s charging, dismissing without having placed

a defendant in jeopardy, and commencing another prosecution at a different time or place deemed

more favorable to the prosecution.” Ammidown, 497 F.2d at 620; see also United States v.

Friedman, 107 F.R.D. 736, 740 (N.D. Ohio 1985) (“[T]he words of reservation inserted into Rule

48(a) [‘leave of court’] … are for the ultimate benefit and protection of the people themselves.”).

Furthermore, “although rule 48(a) is meant to be ‘a check on the abuse of [e]xecutive prerogatives,’

it is not ‘intended to confer on the [j]udiciary the power and authority to usurp or interfere with

the good faith exercise of the [e]xecutive power to take care that the laws are faithfully executed.’”

United States v. B. G. G., 53 F.4th 1353, 1361 (11th Cir. 2022) (quoting Cowan, 524 F.2d at 513).

       That caselaw is buttressed by decisions recognizing the circumscribed judicial role

regarding deferred prosecution agreements. The Speedy Trial Act generally requires trial to begin

within 70 days of the filing of an information or indictment, 18 U.S.C. §3161(c)(1), but excludes

various pretrial periods, including, inter alia, “[a]ny period of delay during which prosecution is

deferred by the attorney for the Government pursuant to written agreement with the defendant,

with the approval of the court, for the purpose of allowing the defendant to demonstrate his good




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conduct,” id. §3161(h)(2) (emphasis added). That “approval-of-the-court” requirement parallels

Rule 48(a)’s “leave of court” language. In the DPA context, courts have squarely rejected the

notion that the language “confer[s] free-ranging authority in district courts to scrutinize the

prosecution’s discretionary charging decisions.” Fokker, 818 F.3d at 741 (reversing district court

decision “disapprov[ing a] DPA based on the court’s view that the prosecution had been too

lenient”). The Second Circuit, for its part, held in HSBC that in light of “the ordinary distribution

of power between the judiciary and the Executive in the realm of criminal prosecution,” it could

not interpret §3161(h)(2) “as imbuing courts with an ongoing oversight power over the

government’s entry into or implementation of a DPA.” 863 F.3d at 138.

       This reluctance to exercise oversight reflects the reality that, in typical cases, the

considerations that influence whether to continue a prosecution are designed to guide executive

discretion, not provide judicially manageable standards. As the Supreme Court has emphasized,

the executive branch’s discretion is typically guided by a range of “factors [such] as the strength

of the case, the prosecution’s general deterrence value, the Government’s enforcement priorities,

and the case’s relationship to the Government’s overall enforcement plan”—none of which is

“readily susceptible to the kind of analysis the courts are competent to undertake.” Wayte v. United

States, 470 U.S. 598, 607 (1985). An unduly expansive view of Rule 48(a) would thus leave courts

intruding on executive decisionmaking with little or no law to apply. See, e.g., United States v.

Henderson, 951 F.Supp.2d 228, 230 (D. Mass. 2013). It would also be futile. “Even were leave

of Court to the dismissal of the indictment denied, the Attorney General would still have the right

to … decline to move the case for trial,” and the court “would be without power to issue a

mandamus or other order to compel prosecution of the indictment.” Greater Blouse, 228 F.Supp.

at 489. In other words, the executive branch could quite literally run out the speedy-trial clock,




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leaving the court with little recourse but to dismiss the prosecution on speedy-trial grounds.

Moreover, even if a district judge tried to compel a prosecution, it would leave the President with

one last card to play—namely, the pardon power. See In re United States, 345 F.3d at 454

(observing that “a judge could not possibly win a confrontation with the executive branch over its

refusal to prosecute, since the President has plenary power to pardon a federal offender”).

        3. None of this is to say that Rule 48(a) consigns courts to rubber-stamp prosecutorial

dismissals, or that the Supreme Court’s deliberate addition of the leave-of-court requirement

granted courts only a Potemkin power. To the contrary, Rule 48(a) grants courts a limited, but

critical, power that is fully consistent with the judiciary’s typical office of vindicating individual

liberty by protecting the rights of the accused. In particular, judges can order dismissal with

prejudice, even over the government’s objection or in the face of the parties’ agreement to dismissal

without prejudice, where doing so protects the defendant from harassment or vindicates liberty.

See, e.g., Derr, 726 F.2d at 619; Towill, 548 F.2d at 1369-70. 4

        While the Second Circuit has not ruled directly on that question, it has expressly declined

to “rule out discretionary dismissals with prejudice.” Hilbert v. Dooling, 476 F.2d 355, 361 (2d

Cir. 1973). Moreover, the Second Circuit’s DPA caselaw strongly suggests that it would approve

of a limited, liberty-protecting role for district courts under Rule 48(a). See HSBC, 863 F.3d at

138 (holding “that §3161(h)(2) authorizes courts to determine that a DPA is bona fide before

granting a speedy trial waiver—that is, that the DPA in question is genuinely intended to ‘allow[]




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      To be sure, not all courts endorse this practice: The Eleventh Circuit has held that “rule 48(a)
limits the district court to granting or denying the government permission to dismiss the
information without prejudice (unless the government expresses a contrary intent).” B. G. G., 53
F.4th at 1369. But that court appears to be an outlier in this respect, and for all the reasons
articulated in this brief, that circumscribed role is difficult to square with the history of Rule 48 or
the liberty-protecting spirit that animates Rule 48 and the separation of powers more generally.


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the defendant to demonstrate his good conduct,’ and does not constitute a disguised effort to

circumvent the speedy trial clock” (citation omitted)); id. at 141 (reserving the possibility that a

monitor’s confidential report could inform judicial inquiry at the final Rule 48 dismissal stage).

       That leaves the questions of whether a court may consider materials beyond the Rule 48(a)

motion itself and what further inquiry is appropriate in resolving an unopposed Rule 48(a) motion.

Rinaldi sheds substantial light on both questions. By the time that case reached the Supreme Court,

the Solicitor General and the defendant were in full agreement that the federal prosecution should

be dismissed. But the Court did not simply defer to the government’s wishes or the agreed position

of the parties. To the contrary, it upheld the dismissal based on its own “examination of the record,”

434 U.S. at 30, and three Justices dissented. It thus seems clear both that a court can go beyond

the government’s motion and that its inquiry need not be truncated by the parties’ agreement.

       That all makes sense. Given the express leave-of-court role that Rule 48(a) carves out for

the judiciary, it would be more than passing strange if courts were limited to the four corners of

the government’s motion. Moreover, given the delicate position of a defendant facing criminal

indictment, it will often be the case that the defendant gladly acquiesces in a dismissal without

prejudice, even though it will always be in the defendant’s best interests to push for a dismissal

with prejudice to guard against re-indictment. In light of that dynamic, a court should not be

constrained in looking beyond the pleadings to other publicly available information. Accord In re

Richards, 213 F.3d at 787 (rejecting the argument that a trial judge’s “power under that rule was

so circumscribed as to prohibit his conducting a hearing on the circumstances surrounding the

Government’s requested dismissal”); Wright & Miller, supra, §802 n.10 (“there is no binding law

preventing the court from investigating whether the government’s motion to dismiss the indictment




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was brought in bad faith,” and nothing in Rule 48(a) prevents a court from “order[ing] the

government to produce certain information regarding its decision before ruling on the motion”).

       To be sure, Rinaldi indicates that bad faith will not be presumed, 434 U.S. at 30, and the

Second Circuit has held that “[i]n the absence of evidence to the contrary, the Department of Justice

is entitled to a presumption of regularity—that is, a presumption that it is lawfully discharging its

duties.” HSBC, 863 F.3d at 129; accord, e.g., United States v. Toyota Motor Corp., 278 F.Supp.3d

811, 813 (S.D.N.Y. 2017). In the ordinary case, there will be little basis for overcoming that

presumption. But a presumption is only that, not an absolute bar to judicial inquiry. And the

presumption does not present any obstacle to considering publicly available information that could

inform the judicial role under Rule 48(a) in general and the decision whether to grant dismissal

with or without prejudice in particular. Indeed, while there may be more difficult questions about

what showing is necessary to overcome the presumption of regularity and allow a judicial inquiry

into non-public prosecutorial decisionmaking, there is no basis for ignoring publicly available

materials in the unusual case where materials shedding light on prosecutorial decisionmaking have

become public. Needless to say, this is the unusual case.

       At the same time, courts should apply what amounts to a rule of parsimony and inquire no

further than necessary into prosecutorial deliberations. After all, the sensitive nature of those

deliberations have been recognized by both the judiciary, see, e.g., Wayte, 470 U.S. at 607, and

Congress, see, e.g., 5 U.S.C. §552(b)(5), and are jealously guarded by the executive. Thus,

unnecessary intrusion into the deliberative process is not only unwarranted, but likely to precipitate

collateral proceedings and mandamus efforts. In short, when the publicly available information is

sufficient to inform judicial decisionmaking, there are sound reasons to avoid further inquiries.




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        4. This is such a case. Here, the materials that have already been made public provide

ample reasons to order dismissal with prejudice. The government’s own recent filings reflect a

belief that this prosecution was initiated in bad faith. See Dkt.122 ¶5; see also Dkts.125-1, 125-2.

Other information that has become public casts doubt on that claim and suggests the decision to

dismiss the indictment was undertaken in bad faith. See, e.g., Dkts.150-3, 150-8. It is almost

certainly beyond the judicial ken to definitively resolve that intramural dispute among executive-

branch prosecutors. It is also unnecessary. Under either view, there is little justification for

preserving the possibility of re-indictment by dismissing without prejudice. While the “salient

issue” for the court concerns the decision to terminate, not initiate, the prosecution, Rinaldi, 434

U.S. at 30, if political considerations improperly influenced the initial decision to seek the

defendant’s indictment, then dismissal with prejudice would definitively eliminate that taint. And

if improper considerations tainted the decision to seek dismissal, then there is a fortiori every

reason to protect the defendant from the threat of re-indictment.

        Three additional, closely related factors support dismissal with prejudice as the appropriate

remedy here. First, the fact that this case involves a currently serving elected official raises distinct

concerns that are eliminated by a dismissal with prejudice but exacerbated by a without-prejudice

dismissal. Prosecutions of incumbent public officials are among the Justice Department’s most

sensitive undertakings and raise inevitable suspicions of political motivations or improper leverage

over the official’s discharge of his duties to constituents. Even the appearance that the prospect of

re-indictment would cause public officials to be more attendant to the executive branch than to

constituents is deeply troubling and raises serious accountability concerns. A dismissal without

prejudice fuels those concerns by expressly preserving the possibility of re-indictment.




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       Second, dismissal with prejudice more closely resembles the options the executive can

achieve unilaterally, while dismissal without prejudice leaves the accused subject to re-indictment

at the executive’s discretion. Nothing a court can do under Rule 48 can prevent the President from

issuing a pardon that ends the prosecution and typically precludes further jeopardy for the offense

(and even a conditional pardon must make any conditions explicit). Similarly, the unreviewable

executive decision to refrain from prosecution leaves the individual’s liberty untouched. Dismissal

without prejudice, by contrast, leaves a once-indicted defendant in a uniquely vulnerable position.

       Third, dismissal with prejudice best accords with the principal office of Rule 48(a) in

particular and the separations of powers more generally—namely, the promotion of individual

liberty. The prospect of the court ordering the prosecution to proceed runs directly counter to the

court’s usual liberty-preserving role in a criminal trial. Insisting on dismissal with prejudice, by

contrast, preserves individual liberty while eliminating the problematic incentives and appearance

issues occasioned by a without-prejudice dismissal of an incumbent public official.

       To be sure, an argument can be made—and has been made, see Dkts.128-1, 150-1—that

the court can go further and effectively try to force the executive to maintain a prosecution it wishes

to drop. But there are both practical and doctrinal problems with that extraordinary course. As a

practical matter, even if the court were to deny the motion to dismiss, there is little the court could

do to force the prosecutors to proceed with dispatch or stop them from dragging their feet and

running out the speedy-trial clock. While a speedy-trial dismissal can be with or without prejudice,

such delay at no fault of the defendant would likely produce a with-prejudice dismissal, but only

after an unnecessary confrontation between the branches. That problem is particularly acute in a

case like this, where the executive wants to drop the entire prosecution, not just specific defendants,

cf. Nederlandsche, 428 F.Supp. at 116, and in circumstances, again like this, where the dismissal




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decision comes from the highest levels of the Justice Department, rather than reflecting an

idiosyncratic decision by a line prosecutor. At a more theoretical level, as just noted, the prospect

of the judiciary being the instrument for the ongoing constraint on the defendant’s liberty is

difficult to square with the identified purposes for Rule 48 and the separation of powers more

broadly. While there may be circumstances where the inversion of the normal roles of the branches

may be unavoidable, there are prudent reasons to avoid that in circumstances where a with-

prejudice dismissal eliminates any appearance that the executive is asserting undue influence over

a public official and any incentive to seek dismissals for those purposes going forward.

                                                ***

       To summarize, the foregoing principles and precedents inform the answers to the questions

posed in the February 21 order and support dismissal with prejudice here:

       First, Rule 48(a) vests courts with an important, but limited, role—one that is principally

focused on how, not whether, a prosecution should be dismissed.

       Second, in deciding whether to grant leave to dismiss an indictment with or without

prejudice, a court is not restricted to the four corners of the Rule 48(a) motion itself. In fact, the

Supreme Court has indicated that the judicial role can properly extend to “examination of the

record” in the case. Rinaldi, 434 U.S. at 30. Moreover, whatever special showing that would be

appropriate before a court could explore non-public deliberations, there is no reason for a court to

ignore materials that have become public.

       Third, “there is no binding law preventing the court from investigating whether the

government’s motion to dismiss the indictment was brought in bad faith.” Wright & Miller, supra,

§802 n.10. That said, the separation-of-powers concerns with judicial inquiries into prosecutorial

deliberations are obvious, and courts have adopted what might be thought of as a rule of parsimony,




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inquiring no further than necessary to decide the appropriate relief. In the unusual circumstances

here, there is enough public information for the Court to resolve the government’s motion.

       Fourth, most courts have recognized that granting leave to dismiss with prejudice, despite

the parties’ agreement that it be without prejudice, is appropriate in certain circumstances.

Dismissal with prejudice is consistent with Rule 48(a)’s “principal object” of protecting the

accused. Rinaldi, 434 U.S. at 29 n.15. And dismissal with prejudice eliminates the appearance

problems inherent when a publicly elected official labors under the specter of re-indictment.

       Fifth, if a court simply denied a Rule 48(a) motion, it could likely precipitate standoff that

would eventually lead to a with-prejudice dismissal on speedy-trial grounds.

       In conclusion, a court has a limited, but critical, role under Rule 48(a)—a role that can be

traced to the Supreme Court’s insistence that the courts not simply rubber stamp prosecutorial

dismissal motions, as at common law. In discharging that responsibility, courts can go beyond the

four corners of the government’s motion, but should go no further than necessary to decide the

appropriate remedy. And, here, there is no need to go beyond the publicly available materials to

determine that dismissal with prejudice is the proper remedy.            Whether one credits the

government’s motion or the views of prosecutors who resigned rather than file that motion, there

is ample reason to dismiss this prosecution with prejudice. That disposition not only advances the

liberty-preserving values that animate Rule 48(a) and the constitutional separation of powers, but

also eliminates the distinct appearance problems inherent in a public official serving his

constituents with the ever-looming prospect of re-indictment by the executive on charges already

laid bare in a public indictment.

                                         CONCLUSION

       The Court should dismiss the indictment with prejudice.




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                                        Respectfully submitted,

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